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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                     Case No.: 18cv0428 DMS (MDD)
12                           Petitioners-Plaintiffs,
                                                           ORDER LIFTING STAY AND
13     v.                                                  SETTING DATES
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
15
                         Respondents-Defendants.
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18           In light of the anticipated restoration of appropriations for Defendants and their
19     attorneys, the stay in this case is lifted. In accordance with the Court’s December 14, 2018
20     Order, and the motions that have been filed since that date, IT IS HEREBY ORDERED:
21     1.    On the issue set out in paragraph (3) on page 24 of the December 12, 2018 status
22     reports, the Court sets the following briefing schedule:
23           a.     Plaintiffs shall file their opening brief on or before February 11, 2019.
24           b.     Defendants shall file their responsive brief on or before February 25, 2019.
25           c.     Plaintiffs shall file their reply brief on or before March 4, 2019.
26     2.    On Plaintiffs’ motion to clarify the scope of the class, Defendants shall file their
27     responsive brief on or before February 6, 2019, and Plaintiffs shall file their reply brief
28     on or before February 13, 2019.

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 1     3.    On the MMM Plaintiffs’ motion to enforce the settlement agreement, (ECF No. 342),
 2     Defendants shall file their responsive brief on or before February 6, 2019, and Plaintiffs
 3     shall file their reply brief on or before February 13, 2019.
 4     4.    The motions referred to in Paragraphs 3 and 4 above shall be heard on February 22,
 5     2019, at 1:00 p.m.
 6     5.    Plaintiffs’ motion to require a response to the Inspector General’s January 17, 2019
 7     Report is granted. Defendants shall file a response to that Report on or before February
 8     1, 2019.
 9     6.    Counsel shall file further status reports on or before 12:00 noon on February 6,
10     2019. A further status conference shall be held on February 8, 2019, at 1:00 p.m. The
11     dial-in number for any counsel who wish to listen in only and members of the news media
12     is as follows.
13           1.       Dial the toll free number: 877-411-9748;
14           2.       Enter the Access Code: 6246317 (Participants will be put on hold until the
15                    Court activates the conference call);
16           3.       Enter the Participant Security Code 02190428 and Press # (The security code
17                    will be confirmed);
18           4.       Once the Security Code is confirmed, participants will be prompted to Press
19                    1 to join the conference or Press 2 to re-enter the Security Code.
20     Members of the general public may attend in person. All persons dialing in to the
21     conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
22     proceedings.
23     7.    Counsel for the Ms. L. Class shall provide notice of this order to counsel for
24     Plaintiffs in the related cases, 18cv1769, 18cv1832 and 18cv1979, and to counsel for any
25     Objectors that wish to appear.
26      Dated: January 25, 2019
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